      Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 1 of 12



                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF NEW YORK

                                                        )
                                                        )
                                                        )
UNITED STATES OF AMERICA                                )
                                                        )
                                                        ) 1:18-CR-00075 (MAD)
     v.                                                 )
                                                        )
                                                        )
OLAF TEPPER                                             )
                                                        )
                           Defendant.                   )
                                                        )


                    Letters in Support of Olaf Tepper at Sentencing




     Johanna and Lukas Tepper – Children (Typed)

     Johanna and Lukas Tepper – Children (Original Handwritten)

     Brigitte and Heinz Tepper – Parents (English Translation)

     Brigitte and Heinz Tepper – Parents (Original German)

     Susanne Tepper - Ex-Wife (English Translation)

     Susanne Tepper - Ex-Wife (Original German)

     Timo Kohlhepp – Partner (English Original)
    Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 2 of 12



Johanna & Lukas Tepper
Blindschacht 53D
45899 Gelsenkirchen
Germany


Judge D´Agostino
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207
USA



RE: Olaf Tepper

Dear honorable judge D´Agostino

We are Johanna and Lukas Tepper.
Today we would like to write about our dad Olaf.
The last time we have seen him was in November 2017, before he got off to America.
Then we suddenly stopped hearing from him and started to worry about what could
have happened to him.
A few days later we found out and were in shock and could not believe it. This feeling
is still not gone and will definitely remain until he is with us again.

No hour passes in which we don’t think about our dad. Likewise, one cannot possibly
grasp how hard it must be to be separated from the own kids for such a long time
and especially missing family events like my 22nd and Johanna’s 21st birthday in
July.
The family has always been the most important thing to him. This has never
changed, even after he moved out in 2009. He continued to be a kind and loving
father to us and a close friend to our mom Susanne. Johanna and I are both infinitely
grateful for this.
Though he calls us everyday and we get to see each other regularly via video-chat,
we are missing him so much.
He is such a good person, to whom we always looked up to and will still do so when
he is back.
Our dad raised us to be sensitive and tolerant people. He taught us that honesty is
always the right path to take. And that you most importantly need to be reliant and
that you will eventually get what you give to other people.
Spending time with him is so great because he is such a cheerful and positive man.
We just cannot be sad when he is around. And we hope that he will not lose his
positivity during his time in jail and that we will get our dad back as the person we
know and miss.

I do not see him as a criminal and my sister does not too.
Although we and Dad all know that he has made a mistake, the whole family stands
behind him. We know that he is very sorry for what he has done and will probably
regret it forever.
    Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 3 of 12



Thank you for taking the time to read our letter.
It is important for us to know that you now might have gotten a deeper impression
and better understanding of our dad’s personality.


Yours faithfully,

Lukas and Johanna Tepper
Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 4 of 12
Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 5 of 12
       Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 6 of 12


Brigitte & Heinz Tepper
Sellmannsbachstraße 39
45889 Gelsenkirchen
Germany


Judge D´Agostino
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207
USA



RE: Olaf Tepper


>>Translation of handwritten Letter<<


Dear honorable Judge D´Agostino,

We are the parents of Olaf Tepper who is in Jail in Troy, NY at the moment. He sincerely
regrets that he has violated American law.
We want to tell you, that our son is always courteous and accommodating, because of his
amiability and honesty he is loved by everyone. He never caused us worries. He is candor,
almost too perfect.

He is a loving father of two wonderful children, who are very gloomy at the moment and
who are crying often as they are loving and missing their Dad. If tears could get him back,
he would be at home since long.
We are no longer the youngest (76 & 78 years old) and are also not the healthiest
anymore. We would like to spend the short amount of time, that we are still granted, happy
together with our boy.
The daily phone call gives us strength, it is nice to hear his voice. We are loving and
missing our only child. Please help us to relieve the heartache.

                                   Thank You

All the best and kind regards

Brigitte & Heinz Tepper
Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 7 of 12
       Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 8 of 12


Susanne Tepper
Blindschacht 53D
45899 Gelsenkirchen
Germany


Judge D´Agostino
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207
USA



RE: Olaf Tepper


>>Translation of handwritten Letter<<

Your Honor,

My name is Susanne Tepper, I am the divorced wife of Mr. Olaf Tepper, whose case you soon will
trial. It is a necessity for me to tell you what kind of human my former husband is, so that you have
a better chance to recognize him as a person and not only as someone who has made a mistake.

We first met 32 years ago at a sports club for which he worked as a volleyball trainer, training
teenagers and disabled persons. Back then, he was 20 years old, he managed his team with joy
and empathy and was loved for that by the members and respected by their parents.
In 1995 we married and our son Lukas was born followed by our daughter Johanna in 1997. He
always has been and still is a loving father and was there for his children when they needed him,
also after we were divorced in 2015. We are still one family, we still respect, like and help each
other, in good as in bad times.
He not only was there for his children, but also for me. If I had a problem, he helped me out, if I
was sad he consoled me. He may not be my husband anymore, but therefore a good friend, the
father of my children, who I and the whole family are missing very much.

I know that he made a mistake, but I also know that he bitterly regrets that mistake. He missed out
the 22nd birthday of our son, he was not together with his family on Christmas. He was not there
when our daughter moved into her first own apartment and he will also not be with her on her 21st
birthday.
A big punishment for a loving father.

He always was open minded and candid, accommodating and fun-loving and I really hope and
wish that he returns to us in this manner soon.

Yours respectfully

Susanne Tepper
Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 9 of 12
Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 10 of 12
       Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 11 of 12


Timo Kohlhepp
Neubaugasse 7
63868 Großwallstadt
Germany


Judge D´Agostino
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207
USA



RE: Olaf Tepper


Dear honorable Judge D´Agostino,

I am Timo Kohlhepp, I am 33 years old and I am working as a Gate Agent for Lufthansa German
Airlines at Frankfurt Airport, Germany. My partner Olaf Tepper is in custody in Troy NY, since end
of November. I have not seen Olaf since his arrest in person. He will get his final sentence by you
on 16th July.

Olaf and I are a couple for three years now. Soon after we first met we fell in love with each other
and shortly after, we decided to move together to cologne. We lived together, built up our live and
made plans for our future. Since Olaf´s arrest I support him in every way that I can, giving him
emotional support, paying his open bills and try to clear things here in Germany to avoid any
further consequences for him.

Olaf is that type of person who always sees the positive side of things and acts accordingly. He
always was there to help if a friend was in need. He has a good and caring heart in his chest. He is
the center of his family holding it together. Every year he organized a vacation together with his
parents who are in their late 70s, so that they can spend time together as long as his parents are
still able to do so. They visited also the US several times and explored places like Florida or
California. In 2016 we were traveling all together across the east coast and Chicago going up to
Niagara and Canada. The bike ride through manhattan is something his mother is still talking about
as she could not believe that she will still do this in her live. The next journey was bound to South
Africa in early 2018…
We also enjoyed a lot of time with his children and went on holidays with them. They always ask
Olaf for his advice if they have something on their mind. He always supported them and his former
wife more than anyone could ask for. He visited them several times per week, helping out
whenever something had to be done around their house or paying their bills.
Olaf was also always supporting me in any task and he always accepted who and what I am
without any exceptions. I have a chronic disease, and even as this might also put Olaf in danger,
he accepted it from the very beginning and made me feel like a valuable human being again.
       Case 1:18-cr-00075-MAD Document 26 Filed 06/25/18 Page 12 of 12


The last months were the worst of my life. I still remember that 21st November when I woke up and
he did not respond to any messages anymore. I did not know what happened several thousand
miles away across the ocean. In the end, I was the one who had to tell his children and his parents
what happened to their father and son.
We had to leave our rented apartment in cologne in January as I could not pay the rent alone. So I
moved back to my parents house, 180 miles away from our friends and Olafs part of the family, to
save some money. Olaf´s company is bankrupt, I had never any business with his company nor do
I have any knowledge of how to run and especially closing down an insolvent company, but all of a
sudden, I was the one who had to act. To avoid any further consequences for Olaf in Germany, I
tried my best to clear things and close down business. The outcome is, that the german court
claims several 10.000s Euros from me as I made some wrong decisions. I lost my position as a
product manager at Lufthansa by the end of January and was degraded back to a Gate Agent,
working shifts and also had to accept a decrease in my salary of about 40%. We sold Olafs former
Apartment in Dortmund, Germany, to pay for the attorneys who are representing him in this case.
In the end we lost everything. Our apartment and center of our live, the company is broke and even
our car is gone. All that remains is our love and our strong and only desire that we will see each
other again healthy. Olaf is very affectionate and loves his freedom at the same time. He does not
care much about material things. Even now, when I have to tell him on the phone that everything is
gone, he just states „don´t worry, it´s just money and things. As long as we still have each other we
will be fine!“ The only thing that is killing him is, that he is far away from his loved ones and that he
caused so much worries and trouble to all of us and that he cannot give us his support at the same
time.
Olaf and I understand that he made a wrong decision and that it is illegal in your country what he
has done. All we can hope for now is, that you can find a way to give justice to your homeland and
also to us and that you please could consider our present personal situation.
His family and I will be at the court on 16th July to show our support for Olaf and to make sure that
he will not be alone in the moment he will receive his final sentence. If he has to serve more time in
jail due to his sentence, Olaf will not be able to manage his affairs properly. Things will move on in
Germany and even more financial claims might arise against him. As he has no income anymore
since several months now, he might also face a personal bankruptcy which might have the
consequence that even his parents and children will lose their homes.

Your honor, I beg for your mercy, please find a way to give his children back their father, his
parents their son, and me my love.


Respectfully yours




Timo Kohlhepp
